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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------X
 JASON ELLSAYED, individually and on behalf of
 all others similarly situated,


                                   Plaintiffs,

         -against-                                                Judgment

 SAYVILLE TOWN HOUSE, INC., dlb/a
 MORICHES BAY DINER, GEORGE NIKOLOPOULOS
 AND SPIRO NIKOLOPOULOS,

                                   Defendant.
 --------------------------------------X
          Whereas the parties have filed consent to the jurisdiction of the Honorable Anne Y.

 Shields, United States Magistrate Judge, and Plaintiffhas filed a Notice of Acceptance of

 Defendants' Offer of Judgment pursuant to Fed. R. Civ. P. 68 on November 12, 2015; counsel for

 Plaintiff and Defendants having agreed that Plaintiff's claimed lost wages are in the amount of

 $559.95; Plaintiff's claimed liquidated damages are in the amount of$559.96; Plaintiff's attorneys'

 fees are in the amount of $1,052.69 and Plaintiff's costs are in the amount of $527 .40; the matter

 having been referred to the Honorable Anne Y. Shields, United States Magistrate Judge, on

 November 23, 2015, to conduct all proceedings and order the entry of a final judgment in

 accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, it is,

         ORDERED, ADJUDGED AND DECREED: That the Clerk of the Court shall enter

 Judgment against Defendants and in favor of the Plaintiff consistent with the Notice of Acceptance of

 Defendants' Rule 68 Offer ofJudgment filed with the Court on N;>Vember 12, 2015 as follows:

 $559.95 to be paid to Plaintiff for unpaid wages reported on IRS Form W2 and $559.96 to be paid to

 Plaintiff for liquidated damages reportable on IRS Form I 099, and it is further,

         ORDERED, ADJUDGED AND DECREED: That the Clerk of the Court shall enter

 Judgment against Defendants and in the favor of Firestone & Breud, P.L.L.C. in the amount of

 $1,580.09 and thereafter, it is further,
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:   .,.




                  ORDERED, ADJUDGED AND DECREED: That the Clerk of the Court shall close this

          case.

          Dated: Central Islip, New York
                  January 4, 2016                        SO ORDERED:


                                                           Is/   Anne Y. Shields
                                                         Anne Y. Shields
                                                         United States Magistrate Judge




                                                     JUDGMENT ENTERED
                                                                     JAI I 4 201
                                                                       Date


                                                           DOUGLAS C. PALMER
                                                                  Clerk of Court



                                                             fu!.;_L§L.Catherine Vukovich
                                                                     Deputy Clerk
